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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

USA                                             §
                                                §
vs.                                             §     NO: SA:25-CR-00010(1)-OLG
                                                §
(1) OSCAR BECERRA-BERNAL                        §



       ORDER ACCEPTING MAGISTRATE JUDGE'S RECOMMENDATION

       On this date came on to be considered the Memorandum and Recommendation of the

United States Magistrate Judge, filed in the above-styled and numbered cause. Pursuant to 28

U.S.C. §636(b), this Court referred to the Magistrate Judge the administration of Defendant's

guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure. See United

States v. Dees, 125 F.3d 261 (5th Cir. 1997). Defendant consented to the administration of the

guilty plea and allocution by the Magistrate Judge.

       The Court has reviewed the Memorandum and Recommendation and finds it to be neither

clearly erroneous nor contrary to law. Accordingly,

       IT IS ORDERED that the Memorandum and Recommendation of the United States

Magistrate Judge filed in this cause be and is accepted pursuant to 28 U.S.C. §636(b)(1) such that

Defendant's guilty plea is ACCEPTED.

       Any party who desires to object to a Magistrate Judge's findings and recommendations

must serve and file his written objections within fourteen days after being served with a copy of

them. If objections are filed within fourteen (14) days, this order will be rescinded and the Court

may conduct a de novo review. See 28 U.S.C. §636(b)(1) ("A judge of the court shall make a de
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novo determination of those portions of the report or specified proposed findings and

recommendations to which objection is made.").

       IT IS SO ORDERED this 20th day of March, 2025.


                                                 ______________________________
                                                 ORLANDO L. GARCIA
                                                 UNITED STATES DISTRICT JUDGE
